JS44 (Rev. 10/20)

purpose of initiating the civil docket sheet.

Case 2:21-cv-03848-NIQALRQOOVER SHPIEd08/28/21 Page 1 of 16

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS

Shantelle Comegys, individually and as parent and

auardian af K

F aminor

(b) County of Residence of First Listed Plaintiff

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)
Law Offices of Robert T Vance Jr, 100 South Broad

Street, Suite 905, Philadelphia PA 19110 215 557 9550

DEFENDANTS

NOTE:
THE TRACT

Attorneys (if Known)
Unknown

 

Valley Forge Military Academy & College

County of Residence of First Listed Defendant

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

OF LAND INVOLVED,

 

II. BASIS OF JURISDICTION (Piace an “x” in One Box Only)

C1

U.S. Government
Plaintiff

[-]2 U.S. Government
Defendant

[=]3 Federal Question
(U.S. Government Not a Party)

C 4 Diversity
(Indicate Citizenship of Parties in Item Ill)

 

IV. NATURE OF SUIT (Place an “X” in One Box Only)

(For Diversity Cases Only)

I. CITIZENSHIP OF PRINCIPAL PARTIES (Piace an “x” in One Box for Plaintiff

and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State [11  [] 1 Incorporated or Principal Place [C]4 (]4
of Business In This State
Citizen of Another State [12 [CJ 2 Incorporated and Principal Place [[] 5s [Js
of Business In Another State
Citizen or Subject of a [13 [1] 3 Foreign Nation Lle (6

Foreign Country

Click here for: Nature of S

 

lit Code Descriptions.
OTHER STATUTES ]

 

 

 

  

 

 

 

 

| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY
110 Insurance PERSONAL INJURY PERSONAL INJURY | ]625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane C] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability [7]690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability QO 367 Health Care/ |] 400 State Reapportionment
[_] 150 Recovery of Overpayment c 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent | 450 Commerce
H 152 Recovery of Defaulted Liability CL] 368 Asbestos Personal 835 Patent - Abbreviated |__| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability |] 840 Trademark Corrupt Organizations
C] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle = 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
| 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act | 485 Telephone Consumer
[] 190 Other Contract Product Liability C 380 Other Personal |_]720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury | 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/

] 362 Personal Injury -
Medical Malpractice

Product Liability

 

 

rl

751 Family and Medical
Leave Act

 

 

 

560 Civil Detainee -
Conditions of

 

Confinement

863 DIWC/DIWW (405(g))
864 SSID Title XVI
865 RSI (405(g))

Exchange
890 Other Statutory Actions
891 Agricultural Acts
893 Environmental Matters

{ 1]

 

 

895 Freedom of Information

 

870 Taxes (U.S. Plaintiff
or Defendant)

[|] 871 IRS—Third Party

26 USC 7609

 

REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS | _|790 Other Labor Litigation
210 Land Condemnation * | 440 Other Civil Rights Habeas Corpus: | |791 Employee Retirement
220 Foreclosure 441 Voting Li Alien Detainee Income Security Act
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate
240 Torts to Land 443 Housing/ Sentence
245 Tort Product Liability Accommodations |] 530 General
[_]290 All Other Real Property [—_] 445 Amer. w/Disabilities -[_] 535 Death Penalty |__IMMIGRATION._|
Employment Other: 462 Naturalization Application
446 Amer. w/Disabilities -] | 540 Mandamus & Other 465 Other Immigration
Other 550 Civil Rights Actions
- Education 555 Prison Condition

 

 

Act
896 Arbitration
899 Administrative Procedure
Act/Review or Appeal of
Agency Decision
| 950 Constitutionality of
State Statutes

 

 

V. ORIGIN (Place an “X" in One Box Only)

1 Original
* Proceeding

Ci? Removed from
State Court

42 USC Section 1983

Cl 3. Remanded from
Appellate Court

4 Reinstated or 5 Transferred from
O U Another District
(specify)

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Reopened

Transfer

6 Multidistrict
Litigation -

8 Multidistrict
Litigation -
Direct File

 

VI. CAUSE OF ACTION

Brief description of cause:
Equal Protection and Due Process violations

 

 

 

VII. REQUESTED IN ~~ [J CHECK IF THISIS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [k]Y¥es [JNo
VII. RELATED CASE(S)
‘See instructions):
IF ANY (Seemsiructions) INGE NIOA S DOCKET NUMBER 21-3460 and 21-3687

 

 

DATE
August 27, 2021
FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

SIGNAL "ATTORNEY OF ya
a
Li VL Lm =

APPLYING IFP

 

Fy

JUDGE

MAG. JUDGE
Case 2:21-cv-03848-NKDAD STATES BISTRICFOUWB/28/21 Page 2 of 16
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM

(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: Owings Mill, Marykand

 

Address of Defendant: Wayne, Pen nsylvania

 

Wayne, Pennsylvania

Place of Accident, Incident or Transaction:

 

 

RELATED CASE, IF ANY:

Case Number 21-cv-3460 & 21-cv-3687 Tie

NIQA

Date Terminated:

 

Civil cases are deemed related when Yes is answered to any of the following questions:

 

 

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes No wv
previously terminated action in this court?

 

 

 

 

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes|(—% No
pending or within one year previously terminated action in this court?

 

 

 

 

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes No |
numbered case pending or within one year previously terminated action of this court?

 

 

 

 

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes No wv
case filed by the same individual?

 

 

 

 

 

 

I certify that, to my knowledge, the within case [2] is / (1 is not related to afy case now pending or within one year previously terminated action in

this court except as noted above. ee
pate; 08/27/2021 hid MWantertian? 37692

 

f Attorney-at-Law / Pro Se Yfaintlf Attorney LD. # (if applicable)

 

 

CIVIL: (Place a ¥ in one category only)

 

A. Federal Question Cases: B. Diversity Jurisdiction Cases:
(C1 1. Indemnity Contract, Marine Contract, and All Other Contracts [] 1. Insurance Contract and Other Contracts
CL] 2. FELA [1 2. Airplane Personal Injury
[1 3. Jones Act-Personal Injury [] 3. Assault, Defamation
L] 4. Antitrust ( 4. Marine Personal Injury
5. Patent [] 5. Motor Vehicle Personal Injury
+ 6. Labor-Management Relations [] 6. Other Personal Injury (Please specify):
7. Civil Rights L] 7. Products Liability
(1 8. Habeas Corpus [] 8. Products Liability — Asbestos
9. Securities Act(s) Cases [] 9. All other Diversity Cases
H 10. Social Security Review Cases (Please specify):
(] $s11. All other Federal Question Cases

(Please specify):

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

I Robert T Vance Jr

, counsel of record or pro se plaintiff, do hereby certify:

 

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

 

 

 

 

| Relief other than monetary damages is sought.

pare; 08/27/2021 CH dudes 37692
7

Attorney-at-Law / Pré Se Plaintiff Attorney ID. # (if applicable)

 

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ, 609 (3/2018)

 
Case 2:21-cv-03848-NIQA Document 1 Filed 08/28/21 Page 3 of 16

United States District Court for the Eastern District of Pennsylvania

Shantelle Comegys, individually and as
parent and guardians of K.F., a minor,

Plaintiff,
VS : Civil Action No.
: Jury Trial Demanded
Valley Forge Military Academy & College, :
Defendant.
Complaint

Plaintiff, Shantelle Comegys, individually and as parent and guardian of K.F., a minor, brings a
series of claims against Defendant, of which the following is a statement:

1. This is a civil rights action in which the Plaintiff contends that defendant violated the Due
Process and Equal Protection Clauses of the U.S. Constitution and state law in connection with
disciplinary action it took against K.F.

Jurisdiction and Venue

2. This Court has jurisdiction over the claims asserted herein pursuant to 28 U.S.C. § 1331,
this action being brought pursuant to 42 U.S.C. §1983, and the Civil Rights Act of 1991, Pub. L. 102-
166, 105 Stat. 1071 (Nov. 21, 1991). This Court may exercise supplemental jurisdiction over the
Plaintiff's state law claim pursuant to 28 U.S.C. §1367.

3. Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b).

Parties
4. Plaintiff, Shantelle Comegys, is a resident of this judicial district and the parent and

guardian of K.F. K.F. is African-American.
Case 2:21-cv-03848-NIQA Document 1 Filed 08/28/21 Page 4 of 16

5. Defendant, Valley Forge Military Academy & College, is a private college preparatory
boarding school and military junior college located at 1001 Eagle Road, Wayne PA 19087. At all times
relevant to this action, defendant received federal financial assistance.

6. The acts alleged in this Complaint were authorized, ratified and done by employees,
agents and servants of defendant acting within the scope of their employments and agencies.

7. At all times relevant to this action, defendants acted under color of state law.

Background Facts

8. Owing to its military history, students enrolled at defendant are known as “Cadets.”

9. According to defendant’s Student Handbook 2019-2020, defendant purports to build
“leaders of character.” Surely, however, character does not include subjecting Cadets to racially
discriminatory treatment or teaching Cadets to accept race discrimination or harassment. In fact,
defendant’s Student Handbook 2019-2020 provides,

A. Discrimination and Bias-Related Behaviors

Valley Forge Military College strictly prohibits any form of discrimination and

bias-related behaviors. VFMC is dedicated to educating students of diverse

racial and ethnic origins and to fostering broad appreciation for cultural and

ancestral diversity. Discrimination against any person on the basis of race,

disability, age, gender, color, ethnicity, ancestry, creed, religion, sexual orientation,

or national origin is against the law and violates the VFMC Community Standards.

10. Despite its alleged adherence to these lofty and worthwhile ideals, defendant fell
woefully short in fostering and promoting them with respect to Black Cadets in general, and with respect
to K.F. in particular, and perpetuated dangerous racial stereotypes and tropes. Among other actions,

a. Non-Black administrators and leadership at defendant frequently referred to Black
Cadets, including K.F., as a “gang” because they socialized together;

b. Leadership and administrators at defendant spoke openly about trying to find a way to get

rid of the group of Black Cadets they labeled a gang;
Case 2:21-cv-03848-NIQA Document1 Filed 08/28/21 Page 5 of 16

c. Without justification, leadership and administrators at defendant routinely referred to the
group of Black Cadets they labeled a gang as troublemakers;

d. Altercations among Cadets occurred frequently at defendant. When the altercations
involved non-Black Cadets, leadership and administrators did not involve the local police. However,
whenever the altercations involved Black Cadets, leadership and administrators routinely reported the
incident to and sought the involvement of local law enforcement; and

e. Black Cadets routinely were disciplined more severely than non-Black Cadets for
committing the same offenses.

11. During the evening of October 30, 2020, an altercation occurred among some Cadets.
Some Cadets had a physical altercation with a non-Black Cadet who had made a racist and derogatory
post on social media. The non-Black Cadet previously had engaged in racist and discriminatory
behavior, and although defendant was aware of his actions, defendant never took any action against him.

12. Consistent with its history and pattern and practice of discrimination against Black
Cadets, and without notifying Ms. Comegys, defendant immediately solicited the involvement of local
law enforcement, agents of which began to conduct interviews of Cadets, including K.F., outside of the
presence of their parents.

13. Despite the fact that an investigation of the October 30, 2020 incident was ongoing, by
letter dated November 2, 2020, defendant suspended K.F. until November 8, 2020, and notified Ms.
Comegys that K.F. would face a Commandant’s Disciplinary Board after he returned. See Ex. A
attached hereto and made a part hereof.

14. _ By letter dated November 6, 2020, defendant dismissed K.F. allegedly for assault,

conduct unbecoming a Cadet and conspiracy. See Ex. B attached hereto and made a part hereof.
Case 2:21-cv-03848-NIQA Document1 Filed 08/28/21 Page 6 of 16

15. By letter dated November 13, 2020, Ms. Comegys appealed K.F.’s dismissal. See Ex. C
attached hereto and made a part hereof.

16. By letter dated November 20, 2020, defendant’s President notified Ms. Comegys that he
had upheld the Commandant’s decision to dismiss K.F. See Ex. D attached hereto and made a part
hereof.

17. Defendant’s decision to dismiss K.F. and to reject Ms. Comegys’s appeal of the dismissal
decision was consistent with defendant’s history and pattern and practice of disciplining Black Cadets
more severely than non-Black Cadets for comparable offenses. For example,

a. a non-Black Cadet threatened to “blow up the school” based on discipline he received
with which he did not agree. Local law enforcement, including several SWAT teams were called to the
campus to search for explosives, given the nature of the threat. In response, defendant merely
suspended the student, but allowed him to remain on campus;

b. a non-Black Cadet spit in the face of a faculty member during a class. Defendant allowed
the student to remain on campus; and

c. a non-Black Cadet, along with others, broke into defendant’s campus store, vandalized
the property and stole several items. Local law enforcement charged the Cadet with three felonies.
Defendant allowed the Cadet to return to campus, where he is in the student leadership program and on
track to become a Captain, one of the highest designations in the leadership program.

18. | Asadirect and proximate result of defendant’s conduct described above, Plaintiff and
K.F. suffered humiliation, embarrassment, mental anguish, pain and suffering, and other damages
associated with the violation of their civil rights.

19. Defendant acted and failed to act willfully, maliciously, intentionally, and with reckless

disregard for the rights of Plaintiff and K.F.
Case 2:21-cv-03848-NIQA Document 1 Filed 08/28/21 Page 7 of 16

Count I
Equal Protection Clause of the Fourteenth Amendment

20. Plaintiff incorporates herein by reference as if set forth in full the averments of
paragraphs 1-19, inclusive, of this Complaint.

21. The actions and omissions of the defendant described above violated Plaintiff and K.F.’s
right guaranteed by the Equal Protection Clause of the Fourteenth Amendment to the U. S. Constitution
to be free from discrimination on the basis of race by intentionally treating him differently than non-
Black Cadets.

Count IT
Due Process Clause of the Fourteenth Amendment

22. Plaintiff incorporates herein by reference as if set forth in full the averments of
paragraphs 1-21, inclusive, of this Complaint.

23. The actions and omissions of the defendant described above were intentionally injurious
to Plaintiff and K.F. and deliberately indifferent to the impact they would have on Plaintiff and K.F.

24. The totality of the circumstances and the defendant’s actions and omissions described
above shock the conscience.

25. | Defendant’s actions and omissions violated the substantive protections to which the
Plaintiff and K.F. were entitled under the Due Process Clause of the Fourteenth Amendment to the U.S.
Constitution.

Count HT
Breach of Contract
26. Plaintiff incorporates herein by reference as if set forth in full the averments of

paragraphs 1-25, inclusive, of this Complaint.
Case 2:21-cv-03848-NIQA Document 1 Filed 08/28/21 Page 8 of 16

27. The Billing and Payment Contract and the Student Handbook 2019-2020 created a
contractual relationship with Plaintiff.

28. The actions and omissions of defendant described above breached material provisions of
the contract regarding ensuring that K.F. would not be subjected to race discrimination and breached the
covenant of good faith and fair dealing implied under the contract.

29.  Asadirect and proximate result of defendant’s material breach of contract, Plaintiff and
K.F. incurred significant economic and non-economic damages.

Jury Demand
30. Plaintiff demands a trial by jury as to all issues so triable.
Prayer for Relief

Wherefore, Plaintiff hereby demands judgment in her favor and against defendant, awarding her
all damages available at law, compensatory and punitive damages, attorney’s fees, expert witness fees,
costs and disbursements pursuant to 42 U.S.C. §1988, and such other and further relief as the Court

deems appropriate.

ae
/ Robert T Vance Jr ae.
Law Offices of Robert T ce Jr
100 South Broad Street, Suite 905
Philadelphia PA 19110

215 557 9550 tel / 215 278 7992 fax
rvance(@vancelf.com

Attorney for Shantelle Comegys
Case 2:21-cv-03848-NIQA Document 1 Filed 08/28/21 Page 9 of 16

Exhibit A
Case 2:21-cv-03848-NIQA Document1 Filed 08/28/21 Page 10 of 16

  
 
 
 

S. VALLEY

MILITARY

 

November 2, 2020

Ms. Shantell Comegys
10090 Mill Run Circle #201
Owings Mill, MD 21117

Dear Ms. Comegys,

Itis my duty to confirm that as of Saturday, October 31, 2020 Kevin has been suspended from —— —_..

Valley Forge Military Academy & College for his alleged involvement in an assault. As of this date,
he may return to campus on Sunday, November 8, 2020, after 4:00 p.m. He will face a Commandant’s
Disciplinary Board shortly after he returns.

This is a serious violation of the Rules and Regulations of Valley Forge Military Academy &
College. An investigation is ongoing. Once completed, I will speak to you regarding the outcome.

While Kevin, is suspended, you will be afforded the opportunity to contact the Academic
offices of the Academy to formulate an academic plan. You may contact Mr. Aaron Barkley, Associate
Dean of the Academy, at 610-989-1382.

If you have any questions, please contact Kevin’s TAC Officer, SgtMaj Charles Anderson,
USMC (ret.), at 610-989-1270.

 

Commandant of Cadets

cc: TAC Officer
Associate Dean of the Academy
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Exhibit B
Case 2:21-cv-03848-NIQA Document1 Filed 08/28/21 Page 12 of 16

  

; MILITARY
“ACADEMY & COLLEGE

 

November 6, 2020

Ms. Shantell Comegys
10090 Mill Run Circle #201
Owings Mill, MD 21117

Dear Ms. Comegys,

This letter will serve to confirm that in accordance with our Rules and Regulations, Kevin has been Dismissed from
Valley Forge Military Academy & College and the Corps of Cadets effective todays date, per Special Orders No. 6
for Assault, Conduct Unbecoming a Cadet and Conspiracy.

If you wish to appeal this decision, please submit your request in writing to the President’s Office, in care of the
Commandant’s Department. The burden is on the appealing cadet to demonstrate why the finding of dismissal should
be altered. Appeals may be based only on the following grounds:

a. Denial of due process,

b. Significant and relevant new evidence that was not available at the time of the disciplinary action, and/or

c. Sanctions which are unduly harsh or arbitrary.

Appeal requests will be processed as follows:
a. Deliver the appeal to the Commandant’s Department for forwarding to the President’s Office.
b. The President’s Office will review the appeal and the entire record of the case.
c. Based upon a complete review of the merits of the case and the appeal, the President’s Office may do any of
the following:
(1) Determine the dismissal is warranted and affirm the results.
(2) Alter or suspend the original decision of dismissal.
(3) Refer the case to a new hearing authority for a rehearing.
(4) Dismiss the case.

The President’s Office is the final authority for any disciplinary action taken within the Corps of Cadets, and will
provide a written response to the appeal.

If you intend to appeal this decision, please provide your written appeal within seven days of the date of this
notification. In the interest of time, you may fax your appeal to 610-989-1260 or send it electronically to
KSceitz@vimac.cdu . Please send the original copy via mail.

If you have any questions regarding the coordination of final administrative actions, please contact SgtMaj Anderson,
USMC (Ret.), Lead Academy TAC Officer, at 610-989-1270.

 

‘ fC
Commandant of Cadets

ce: TAC Officer
Case 2:21-cv-03848-NIQA Document 1. Filed 08/28/21 Page 13 of 16

Exhibit C
Case 2:21-cv-03848-NIQA Document1 Filed 08/28/21 Page 14 of 16

To:

Cor. Stuart Helgeson

President, Valley Forge Military Academy & College
1001 Eagle Road

Wayne, Pennsylvania

19087-3695

Date: November 13, 2020
Subject: Appeal of Expulsion

Respected Col Helgeson,

I am writing this letter to you with the intention to appeal a decision that was made on
November 6, 2020 allegedly made by a detective on the behalf of Presidents Officer of Valley
Forge Military Academy & College to expel my son Kevin Fleming. Federal, State and District
policies were violated in the decision to expel Kevin Fleming.

- Due Process was denied in violation of Valley Forge Military Academy & College

policy

- Kevin Fleming was suspended for 6 days prior to expulsion without a hearing.

- The Sanction is arbitrary based on the information that was provided and under the

circumstances.

On October 30, 2020, and allegation was made by Valley Forge Military Academy &
College, that Kevin Fleming was involved with an assault, and harassment of a fellow student. I
was contacted on Oct 31, 2020 by Sgt. Major Charles Anderson who made me aware of the
Allegations and to make me aware that I had to come and pick him up from campus. I received a
call from Sgt. Major Charles Anderson stating that Kevin Fleming was dismissed for his alleged
involvement in a fight that happened on October 30, 2020 and the decision came from a
detective on the behalf of Valley Forge Military Academy. I was made aware that he allegedly
had pending charges. During that timeframe I was not and still have not been contacted by a
detective about this matter.

I respectfully request that you consider a hearing or this appeal for Kevin Fleming
expulsion. As I have mentioned this expulsion is in violation of Federal, State and District
policies, I would like to state that I am not trying to allow Kevin Fleming to escape discipline for
any real action in violation of school policy if there is any warranted. I am stating that Valley
Forge Military Academy & College and its Administration presented no proof that Kevin
Fleming committed any violations of school policy that would warrant expulsion. Kevin Fleming
due process rights as a cadet were ignored and violated.

My goal is for Kevin Fleming to be able to complete his semester at Valley Forge
Military Academy & College high school career in this setting Virtually or via campus. I look
forward to hearing from you regarding this urgent matter at your earliest convinced. _~

Respectfully,

= SIN) Comma 47>

Shantell Comegys
Case 2:21-cv-03848-NIQA Document 1 Filed 08/28/21 Page 15 of 16

Exhibit D
Case 2:21-cv-03848-NIQA Document1 Filed 08/28/21 Page 16 of 16

VALLEY FORGE MILITARY ACADEMY AND COLLEGE

1001 EAGLE ROAD, WAYNE, PA 19087-3695 / 610-989-1200 / FAX: 610-975-9642

 

 

JEFICE OF THE PRESIDEN”
OFFICE OF THE PRESIDENT November 20, 2020

Ms. Shantell Comegys
10090 Mill Run Circle #201
Owings Mill, MD 21117

Dear Ms. Comegys,

T have reviewed the correspondence regarding your cadet’s appeat of his dismissat. Talso have reviewed
his disciplinary and tactical records, and have met with the Dean of the Academy and the Commandant
of Cadets to evaluate his potential success at Valley Forge.

Pursuant to the Billing and Payment Contract which was signed regarding the in-processing of your
son at VFMAC, he was subject to immediate dismissal for his involvement in a criminal act or other
serious offense, as well as for violations of prevailing rules and regulations of the institution. These
actions are not consistent with what is expected of a Cadet of Valley Forge Military Academy.
Therefore, I have decided to uphold the Commandant’s decision of dismissal.

We wish Kevin all the best in his future endeavors.

If you have any questions regarding the coordination of final administrative actions, please contact
SgtMaj Charles Anderson, USMC (Ret.), Lead TAC Officer of the Academy, at 610-989-1270.

Sincerely,

sped pea TN

Stuart B. Hesesch
Colonel, USMC (ret)
President

ce:
Commandant of Cadets
TAC Officer
